Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 1 of 18




           EXHIBIT 32
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 2 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 2 of 18




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.


        CURLING PLAINTIFFS’ THIRD AMENDED NOTICE OF
       DEPOSITION OF OFFICE OF THE SECRETARY OF STATE

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

      PLEASE TAKE NOTICE that Curling Plaintiffs will take the deposition by

oral examination of the Office of the Secretary of State as permitted by Rule 30 of

the Federal Rules of Civil Procedure and applicable court orders in the above-

captioned matter and as set forth in Schedule A.           Given defense counsel’s

representation that they expect to produce four representatives for this deposition, it

will take place on January 28 and February 2, 11 & 16, 2022, beginning at 9:00

a.m. Eastern Time, and continue from day to day until completed. In light of

current health issues around the country, the deposition will take place online by

videoconference, such that each participant may participate from a location of their

choosing. The deposition shall be taken by oral examination with written and/or

                                          1
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 3 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 3 of 18




sound and visual record made thereof before a court reporter or other officer

authorized by law to administer oaths.

      Respectfully submitted this 8th day of February, 2022.

 /s/ David D. Cross                        /s/ Halsey G. Knapp, Jr.
David D. Cross (pro hac vice)             Halsey G. Knapp, Jr.
Mary G. Kaiser (pro hac vice)             GA Bar No. 425320
Veronica Ascarrunz (pro hac vice)         Adam M. Sparks
Hannah R. Elson (pro hac vice)            GA Bar No. 341578
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    Counsel for Plaintiffs Donna Curling, Donna Price & Jeffrey Schoenberg
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 4 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 4 of 18




                                  SCHEDULE A

                                  DEFINITIONS

      The following words, terms, or phrases shall, for purposes of the Topics

below, have the meanings specified, unless otherwise expressly stated in each

request:

      “All” and “each” shall be construed as all and each.

      “And” as well as “or” are to be construed either disjunctively or

conjunctively as necessary to bring within the scope of the Topics all information

that might otherwise be construed to be outside their scope.

      “Any” means each and every.

      “Communication” shall mean any transmission of information by any

means, including without limitation: (a) any written letter, memorandum, or other

Document of any kind by mail, courier, other delivery services, telecopy,

facsimile, telegraph, electronic mail, voicemail, or any other means; (b) any

telephone call, whether or not such call was by chance or prearranged, formal or

informal; and (c) any conversation or meeting between two or more Persons,

whether or not such contact was by chance or prearranged, formal or informal.

      “Concerning,” “related to” or “relating to,” and “regarding” shall mean

analyzing, alluding to, concerning, considering, commenting on, consulting,
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 5 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 5 of 18




comprising, containing, contradicting, describing, dealing with, discussing,

establishing, evidencing, identifying, involving, noting, recording, reporting on,

related to, relating to, reflecting, referring to, regarding, stating, showing, studying,

mentioning, memorializing, or pertaining to, in whole or in part.

      “Document” and “documents” shall be synonymous in meaning and equal in

scope to the usage of that term in Rule 34(a), and includes “tangible things” (as

that term is used in Rule 34(a)(1)(b)), as well as anything that falls within the

definition or meaning of “electronically stored information” (as that term is used in

Rule 34(a)(1)(A)) or of “writings” or “recordings” in Federal Rule of Evidence

1001. A draft or non-identical copy of a document shall be considered a separate

document within the meaning of the term “document,” as used in the Topics.

      “Dominion” means Dominion Voting Systems, Inc., its predecessors,

divisions, subsidiaries, affiliates, partnership and joint ventures, and all directors,

officers, employees, contractors, representatives, and agents thereof, and any other

person acting on its behalf or under its direction or control with respect to subject

matter of these Topics.

      “Dominion Worker” means employees, contractors, representatives, and

agents of Dominion, and any other person acting on its behalf or under its direction

or control with respect to subject matter of these Topics.
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 6 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 6 of 18




      “Electronic Pollbook” refers to the Election Systems & Software

ExpressPoll, PollPad system supplied by KnowInk, or any other similar electronic

pollbook system.

      “Election System” means every aspect of any system, device, machine,

server, computer, equipment, files, removable media (such as memory cards),

ballot-marking devices (BMDs) (including ImageCastX Ballot-Marking Devices),

BMD-adjacent equipment (including ImageCast Precinct Polling Place Scanner

and associated printers or touchscreens), the KnowInk PollPad Plus system and

associated components, software (such as any version of the Global Election

Management System (GEMS), the BallotStation software or the software

associated with the “Dominion Voting Democracy Suite” (D-Suite) and the

KnowInk PollPad Plus system used in any election in the state of Georgia, script,

hardware, firmware, software patch or update, paper, documentation, or facility (to

include any backup of the foregoing) used in or as part of the operation,

administration, implementation, execution, completion, preparation, facilitation,

recording, processes, or procedures of elections in the State of Georgia, including

voter registration information, election results data, DREs, BMDs, optical

scanners, modems, network equipment, other peripheral devices, any server that

hosts or has hosted the GEMS software, Dominion software, or any other election
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 7 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 7 of 18




management system, or the Election Night Reporting system, voter registration

systems or databases (e.g., “eNet”), online voter registration servers, electronic poll

books and related components, administrative credentials, the Center for Election

Systems (CES) (including when it was located at Kennesaw State University), or

information related to employees, agents, representatives, volunteers, or others

acting on behalf of you, the State of Georgia, or any county or municipality with

respect to elections in the State of Georgia.

      “Including” means including without limitation.

      “Person” means and includes a natural person (i.e., an individual), a group of

natural persons acting as individuals, a group of individuals acting in a collegial or

concerted capacity (e.g., as a committee, a board of directors or advisors, etc.), an

association, firm, corporation, joint venture, partnership, company, governmental

unit or agency, and any other business, enterprise, or entity, unless otherwise

limited or specified in the Topics.

      “State Election Board” means any current or former members of Georgia’s

State election board from 2016-present.

      “You” or “your” mean and include Secretary of State Brad Raffensperger,

any of his predecessors, the divisions, departments, partnerships, and joint ventures

of or subject to the control of the Office of the Secretary of State, all directors,
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 8 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 8 of 18




officers, employees, contractors, consultants, representative, and agents thereof,

and any other person acting on its behalf or under its direction or control with

respect to subject matter of these Topics, including to the extent applicable the

Georgia Technology Authority.

                                  INSTRUCTIONS

      Pursuant to Federal Rule of Civil Procedure 30(b)(6), the Office of the

Secretary of State shall designate one or more of its officers, directors, managing

agents, employees, or other persons to testify on its behalf about the matters set

forth in the Topics set forth below. The Person(s) so designated shall be required

to testify about each of those matters known or reasonably available to the Office

of the Secretary of State. At least five days in advance of the date of deposition,

the Office of the Secretary of State is directed to provide to counsel for Plaintiffs a

written designation of the name(s) and position(s) of the Person(s) designated to

testify on each of the following topics.
    Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 9 of 18


        Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 9 of 18




                                 AMENDED TOPICS

        “Prior Election System” is the prior DRE/GEMS system1 and “Current

Election System” is the Dominion system currently used in Georgia, as clarified in

Curling Plaintiffs’ June 30, 2021 letter regarding the 30b6 topics.

        1.      Implementation and operation of Georgia’s Current Election System

limited to the following subtopics:

             a. Any efforts made specifically (i) to determine whether malware is, or

                was, located on any Component2 of Georgia’s Prior Election System

                and (ii) to prevent any such malware from infecting the Components

                of Georgia’s Current Election System; and the success or failure of

                any such efforts, including any exchanges of software or data between

                any Component of the two election systems and the use of the same

                computers, servers, or removable media with both systems;



1
  Reference to the Prior Election System in these topics seeks information only
regarding the extent to which potential infiltration of that system could affect the
Current Election System.
2
  Component is limited to the following equipment that has been used for elections
in the State of Georgia: ES&S DREs; Dominion BMDs; printers used with
Dominion BMDs; scanners used to scan ballots; servers containing election
management system (EMS) software for use with any ES&S DREs or Dominion
BMDs; and servers, laptops, desktop computers, tablets, smartphones, and
removable media connected to any of the preceding equipment or otherwise used
to collect, tally, record, transmit, design, or audit voting information.
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 10 of 18


    Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 10 of 18




       b. Any efforts made to “air-gap” any Components of Georgia’s Current

          Election System, and the success or failure of any such efforts;

       c. Any connections of any Components of Georgia’s Current Election

          System to the Internet, telephone lines, cable lines, satellites, or other

          third-party system or network;

       d. [WITHDRAWN – MORE NARROWLY CAPTURED BY 1a and

          9b];

       e. Any failure of any Component of Georgia’s Current Election System

          to correctly tabulate, tally, record, store, or maintain any ballot cast in

          any 2020 or 2021 elections in Georgia, any measures implemented,

          planned, or contemplated to remediate or otherwise address any such

          failure, and the success or failure of any such measures;

       f. Practices and policies for creating ballot definition files and Election

          Project Packages for Georgia 2020 or 2021 elections, including when,

          where, how, and by whom such files were created and transmitted for

          use in any such election;

       g. Procedures and instructions for county review and approval of the

          Election Project Packages;
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 11 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 11 of 18




           h. Practices and policies for transferring scanned ballot data and

              tabulation data or information for Georgia 2020 or 2021 elections to

              You, including when, how, and by whom such data or information

              was collected or transmitted.

      2.      Any testing, examination, reexamination, evaluation, study, analysis,

investigation, or assessment of the security, integrity, reliability, accuracy, or

transparency of Georgia’s Current and/or Prior Election System, including:

           a. Your knowledge about your policies and training on Logic and

              Accuracy testing, as well as practices concerning these issues

              undertaken by you or anyone acting on your behalf or at your

              direction;

           b. Logic and Accuracy Testing of the current voting equipment, the

              results thereof, and any steps or measures contemplated or taken in

              response to any such testing;

           c. Any reports, findings, or conclusions regarding any potential or actual

              security concerns, breaches, or vulnerabilities involving any aspect of

              Georgia’s Current or Prior Election System;

           d. Documentation—including research, reports, assessments, findings,

              studies, publications, memoranda, and communications—regarding
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 12 of 18


     Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 12 of 18




              the security, integrity, reliability, or accuracy of any component of

              Georgia’s Current Election System.

      3.      Complaints regarding the security, integrity, reliability, or accuracy of

Georgia’s Current and/or Prior Election System, including when and by whom any

such complaints were made and any responses thereto.

      4.      Dominion’s role and responsibilities in any 2020 and 2021 Georgia

elections related to Georgia’s Current Election System, including:

           a. Any oversight Dominion exercises over technicians or other election

              workers in any such election;

           b. Any access any Dominion Worker had to any components of the

              Election System used in any such election after the state or any county

              took possession of the component(s), whether (and if so, how, when,

              and by whom) that access was exercised by any Dominion Worker,

              and the reasons for any such access;

           c. Any changes any Dominion Worker made to any components of the

              Election System (including servers and any software, firmware, or

              data on the equipment) used in any such election after the state or any

              county took possession of the component(s), including how, when,

              why, and by whom any such changes were made.
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 13 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 13 of 18




      5.       Your knowledge about vendor access to Poll Pads, BMDs, printers,

scanners, computers, or servers used to administer elections, including tabulating

votes, under Georgia’s Current and/or Prior Election System and applicable State

Election Board (SEB) rules and training with respect to vendors with access to any

such equipment and/or data, as well as any practices regarding the enforcement of

those rules.

      6.       Policies and practices for hiring, training, and overseeing technicians

and other election workers (including volunteers) for 2020 and 2021 Georgia

elections under Georgia’s Current and/or Prior Election System, including

regarding any background checks, confidentiality requirements, or other security

measures implemented or contemplated for any such workers.

      7.       Policies and practices for scanning and tabulating paper ballots under

Georgia’s Current Election System. Specifically:

           a. Functionality and operation (including equipment settings) of

               Georgia’s Current Election System (including software and firmware)

               for scanning paper ballots, whether generated by a ballot-marking

               device or marked by hand or some other means;
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 14 of 18


      Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 14 of 18




             b. Functionality and operation of Georgia’s Current Election System

                (including software and firmware) for adjudicating marks on paper

                ballots for tabulation;

             c. Any policies and practices contemplated or adopted to try to ensure

                accurate tabulation of voter selections reflected on paper ballots;

                Training and oversight of technicians and other election workers

                and/or counties on such policies, practices, and equipment.

      8.        Complaints or reports regarding security vulnerabilities with or

unauthorized access to any Electronic Pollpads used in Georgia 2020 or 2021

elections.

      9.        Vulnerabilities involving the security, integrity, reliability, or

accuracy of Georgia’s Current Election System limited to the following subtopics:

             a. Suspected or actual unauthorized access to or copying or alteration of

                software or data on any Component of Georgia’s Current Election

                System;

             b. Policies and practices regarding securing Components of Georgia’s

                Current Election System against unauthorized access to or copying or

                alteration of software or data on any such Components, including but

                not limited to removable media used with the system (and any other
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 15 of 18


     Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 15 of 18




               equipment used with any such media) and equipment stored overnight

               in early voting polling places;

            c. Wireless connections available with any of the following equipment

               used in Georgia elections in 2020 or 2021: Dominion BMDs; printers

               used with Dominion BMDs; scanners used to scan ballots; servers

               containing election management system (EMS) software for use with

               any Dominion BMDs; Electronic Pollbooks; and servers, laptops,

               desktop computers, tablets, smartphones, and removable media

               connected to any of the preceding equipment or otherwise used to

               collect, tally, record, transmit, design, or audit voting information.

      10.      Any instance in 2020 or 2021, within the knowledge of the Secretary

of State’s Office, when a person or entity other than an authorized election worker

or Georgia state or county official obtained voting data from a Georgia election or

images of voting equipment used in a Georgia election.

      11.      Any changes to any software or firmware used on any component of

Georgia’s Current Election System since September 1, 2020, including when, how,

why, and by whom any such changes were made and approved.

      12.      Communications with the U.S. Election Assistance Commission

(“EAC”) regarding any software changes involving Georgia’s current Election
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 16 of 18


     Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 16 of 18




System or otherwise relating to any actual or contemplated request for EAC

approval for any aspect of Georgia’s Current Election System.

      13.      The voter verifiability and auditability of ballots generated by

ballotmarking devices used in Georgia 2020 or 2021 elections, including:

            a. Any policies and practices contemplated, adopted, or implemented to

               try to ensure voter verification of the contents of paper ballots

               generated by Georgia’s Current Election System;

            b. Any testing, examination, evaluation, study, analysis, or assessment of

               the extent to which voters reliably verify the accuracy of their

               respective ballots generated by ballot-marking devices used in

               Georgia’s Current Election System;

            c. Any policies and practices contemplated or adopted for pre-election or

               post-election auditing of election results produced by Georgia’s

               Current Election System, including but not limited to risk-limiting

               audits of that system;

            d. Any audit of any Georgia 2020 or 2021 election, including the steps

               taken as part of that audit and the results thereof and any review or

               investigation of discrepancies found in the audit.
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 17 of 18


     Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 17 of 18




      14.      Any actual or contemplated plans to replace Georgia’s current voting

software or equipment with different voting software or equipment, such as BMDs

that do not generate bar codes for tabulation.

      15.      Potential implementation and operation of an election system using

hand-marked paper ballots as the primary means of voting in person in Georgia

elections, including:

            a. Any examination, evaluation, study, analysis, or assessment of the

               reliability, feasibility, or costs thereof;

            b. Any proposal or request for any such Election System for use in

               Georgia, including when and by whom any such proposal or request

               was made and any response thereto.

      16.      Admissibility of any Documents You produce in discovery in this

matter.

      17.      Your process for identifying, collecting, searching, reviewing, and

producing responsive Documents and other relevant materials in this matter.

      18.      Your process for preserving information within Your possession,

custody, or control potentially relevant for this matter, including any

communications with counties or other entities or individuals regarding the same.
Case 1:17-cv-02989-AT Document 1628-32 Filed 02/13/23 Page 18 of 18


     Case 1:17-cv-02989-AT Document 1357-3 Filed 03/31/22 Page 18 of 18




               IN THE UNITED STATES DISTRICT COURT
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DONNA CURLING, ET AL.,
Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                            CERTIFICATE OF SERVICE

      I certify that on February 8, 2022, a copy of the foregoing was served by email

on all counsel of record.

                                             /s/ David D. Cross
                                             David D. Cross
